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 3                                                                           Hon. Robert S. Lasnik
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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     SHELBY KRUSE,
 9                                                      No. 2:17-cv-1199-RSL
                    Plaintiff,
10                                                      JOINT MOTION TO DISMISS
              vs.
11                                                      NOTED FOR HEARING:
     AUDIT & ADJUSTMENT COMPANY,                        JANUARY 25, 2018
12   INC., d/b/a EVERGREEN BILLING
     SPECIALISTS,
13
                    Defendants.
14

15            The Parties, by and through their respective attorneys of record, having reached a

16   settlement in the above-captioned matter, hereby stipulate and agree that the above-captioned

17   lawsuit should be dismissed with prejudice and without costs.

18            JOINTLY AGREED AND DATED this 25th day of January, 2018.

19                                               CONCORD LAW, PC
20                                               By:_/s Ryan Pesicka (via electronic consent)__
                                                    Ryan Pesicka, WSBA No. 48182
21                                                  Of Attorneys for Plaintiff
                                                    Shelby Kruse
22
                                                     144 Railroad Ave, Ste 236
23                                                   Edmonds WA 98020
                                                     (206) 512-8029
24                                                   ryan@concordlawseattle.com
25

     STIPULATION AND ORDER OF DISMISSAL WITH
     PREJUDICE - 1
     2:17-cv-1199-RSL
     6234975.doc
               Case 2:17-cv-01199-RSL Document 17 Filed 01/25/18 Page 2 of 3




 1
                                               MARCUS & ZELMAN, LLC
 2
                                               By:_/s Yitzchak Zelman ______________
 3                                                Yitzchak Zelman, pro hac vice
                                                  Of Attorneys for Plaintiff
 4                                                Shelby Kruse
 5                                                1500 Allaire Ave.
                                                  Ocean, NJ 07712
 6                                                (845) 367-7146
                                                  yzelman@marcuszelman.com
 7
                                               LEE SMART, P.S., INC.
 8
                                               By:_/s Marc Rosenberg ______________
 9                                                Marc Rosenberg, WSBA No. 31034
                                                  Of Attorneys for Defendant
10                                                Audit & Adjustment Company, Inc.
                                                  d/b/a Evergreen Billing Specialists
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                                                  1800 One Convention Place
12                                                701 Pike St.
                                                  Seattle, WA 98101-3929
13                                                (206) 624-7990
                                                  mr@leesmart.com
14

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     STIPULATION AND ORDER OF DISMISSAL WITH
     PREJUDICE - 2
     2:17-cv-1199-RSL
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               Case 2:17-cv-01199-RSL Document 17 Filed 01/25/18 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that on the date provided at the signature below, I electronically filed
     the preceding document with the Clerk of the Court using the CM/ECF system, which will send
 3   notification of such filing to the following individuals:
 4            Mr. Ryan Pesicka
              Concord Law, P.C.
 5            144 Railroad Ave, Ste 236
              Edmonds, WA 98020
 6            ryan@concordlawseattle.com
 7            Yitzchak Zelman
              Marcus & Zelman, LLC
 8            1500 Allaire Ave.
              Ocean, NJ 07712
 9            (845) 367-7146
              yzelman@marcuszelman.com
10

11          I certify under penalty of perjury under the laws of the State of Washington that the
     foregoing is true and correct, to the best of my knowledge.
12
              Dated this 25th day of January, 2018 at Seattle, Washington.
13

14                                                 LEE SMART, P.S., INC.

15                                                 By:_/s Marc Rosenberg ______________
                                                      Marc Rosenberg, WSBA No. 31034
16                                                    Of Attorneys for Defendant
                                                      Audit & Adjustment Company, Inc.
17                                                    d/b/a Evergreen Billing Specialists

18                                                    1800 One Convention Place
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                                                      (206) 624-7990
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     STIPULATION AND ORDER OF DISMISSAL WITH
     PREJUDICE - 3
     2:17-cv-1199-RSL
     6234975.doc
